         Case 1:19-cr-00131-PAE Document 557 Filed 11/02/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                          19-CR-131-06 (PAE)
                         -v-
                                                                                 ORDER
 CARL ANDREWS,

                                         Defendant.


PAUL A. ENGELMAYER, District Judge:

        The Court has received the letter from defense counsel dated October 30, 2020, notifying

the Court that Ezra Spilke, Esq., one of Mr. Andrews’s two defense counsel, has a competing

trial commitment, before Judge Ramos, in a trial that may be scheduled for January. Dkt. 554.

Counsel should have notified this Court of the potential conflict earlier, including at the time the

Court was asked to adjourn this case from October 20, 2020, into the first quarter of 2021 on

account of the unavailability of a Government witness. As counsel will recall, the Court, in

response to Mr. Andrews’s requests for a prompt trial, has repeatedly stated its commitment to

attempt to schedule this trial as early as possible in the first quarter of 2021, and if possible in

January. Mr. Spilke’s trial schedule, however, makes the Court’s stated intention to schedule

Mr. Andrews’s trial in January likely unworkable, as it does not appear that Mr. Spilke could

represent Mr. Andrews at a trial in this case if scheduled anytime in January.

        The Court accordingly hereby notifies counsel that Mr. Spilke’s scheduling conflict may

result in Mr. Andrews’ trial being scheduled after that of his severed co-defendants, Justin Rivera

and Dwayne Anthony Conley, and therefore potentially late in the first quarter of 2021. The




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         Case 1:19-cr-00131-PAE Document 557 Filed 11/02/20 Page 2 of 2




Court understands both counsel for Mr. Andrews to be available during the first quarter of 2021,

other than during the period when Mr. Spilke may be on trial before Judge Ramos.




       SO ORDERED.


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                                                    __________________________________
                                                          PAUL A. ENGELMAYER
                                                          United States District Judge
Dated: November 2, 2020
       New York, New York




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